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                             UNITED STATES DISCTICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DANIEL WILLIAM RUDD,

              Plaintiff,
                                                      Case No. 1:18-cv-00124-GJQ-RSK
     vs.
                                                      HON. GORDON J. QUIST

NORTON SHORES, CITY OF, et al.,

              Defendants.

                                               /


              ORDER EXTENDING TIME TO FILE RESPONSIVE BRIEFS

     Counsel for Defendants have each filed dispositive motions under Fed. R. Civ. P. 12(c).

Plaintiff’s responsive briefs are currently due by October 9, 2018. The parties have agreed and

stipulated to a seven-day extension of time for Plaintiff to file his responsive briefs. The parties

also concur that the filing of a single consolidated brief may be a prudent substitute for the filing

of three separate responsive briefs.

     IT IS ORDERED that Plaintiff may, at his discretion, file a single consolidated response

brief, which shall not exceed forty (40) pages, exclusive of cover sheet, tables, and indices.

Alternatively, Plaintiff may respond to each dispositive motion with individual briefs of standard

length. In either case, Plaintiff’s brief(s) in response to ECF Nos. 53, 58, & 60 shall be due on or

before October 16, 2018.



Dated: October ___,
                10 2018                               ________________________________
                                                        /s/ Gordon J. Quist
                                                              GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE
